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AO 442 (Rev. 11/11) Arrest Warrant



                                        UNITED STATES DISTRICT COURT
                                                                           for the
                                                          District
                                                 __________        of Arizona
                                                            District  of __________

                  United States of America
                             v.                                               )
                        James W. Clark                                        )          Case No.    CR-22-00889-PHX-MTL
                                                                              )
                                                                              )
                                                                              )
                                                                              )
                                                                                                          SEALED
                            Defendant


                                                      ARREST WARRANT
To:      Any authorized law enforcement officer

         YOU ARE COMMANDED to arrest and bring before a United States magistrate judge without unnecessary delay
(name of person to be arrested)      James W. Clark                                                                                                  ,
who is accused of an offense or violation based on the following document filed with the court:

✔ Indictment
u                         u Superseding Indictment             u Information                u Superseding Information             u Complaint
u Probation Violation Petition              u Supervised Release Violation Petition                   u Violation Notice          u Order of the Court

This offense is briefly described as follows:
  18:844(e) - Bomb Threat
  18:1038(a) - Bomb Hoax
  18:875(c) - Interstatee Threat




                                                                                                       Issuing officer’s signature

City and state:       Phoenix, Arizona                                                               M. Pruneau, Deputy Clerk
                                                      ISSUED ON 2:35 pm, Jul 26, 2022
                                                                                                         Printed name and title
cc: PTS                                                  s/ Debra D. Lucas, Clerk


                                                                         Return

           This warrant was received on (date)                                      , and the person was arrested on (date)
at (city and state)                                                 .

Date:
                                                                                                      Arresting officer’s signature



                                                                                                         Printed name and title
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                      This second page contains personal identifiers provided for law-enforcement use only
                      and therefore should not be filed in court with the executed warrant unless under seal.

                                                      (Not for Public Disclosure)

Name of defendant/offender:
Known aliases:
Last known residence:
Prior addresses to which defendant/offender may still have ties:


Last known employment:
Last known telephone numbers:
Place of birth:
Date of birth:
Social Security number:
Height:                                                                Weight:
Sex:                                                                   Race:
Hair:                                                                  Eyes:
Scars, tattoos, other distinguishing marks:



History of violence, weapons, drug use:


Known family, friends, and other associates (name, relation, address, phone number):


FBI number:
Complete description of auto:


Investigative agency and address:


Name and telephone numbers (office and cell) of pretrial services or probation officer (if applicable):



Date of last contact with pretrial services or probation officer (if applicable):




          Print                       Save As...                                                                Reset
